    CASE 0:24-md-03108-DWF-DJF                   Doc. 213       Filed 02/14/25        Page 1 of 2




                                   UNITED STATES JUDICIAL PANEL
                                                on
                                    MULTIDISTRICT LITIGATION


IN RE: CHANGE HEALTHCARE, INC., CUSTOMER
DATA SECURITY BREACH LITIGATION                                                                  MDL No. 3108



                                       (SEE ATTACHED SCHEDULE)



                             CONDITIONAL TRANSFER ORDER (CTO −8)



On June 7, 2024, the Panel transferred 4 civil action(s) to the United States District Court for the District of
Minnesota for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. § 1407. See
_F.Supp.3d_ (J.P.M.L. 2024). Since that time, 48 additional action(s) have been transferred to the District of
Minnesota. With the consent of that court, all such actions have been assigned to the Honorable Donovan W.
Frank.

It appears that the action(s) on this conditional transfer order involve questions of fact that are common to the
actions previously transferred to the District of Minnesota and assigned to Judge Frank.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict Litigation,
the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the District of Minnesota for
the reasons stated in the order of June 7, 2024, and, with the consent of that court, assigned to the Honorable
Donovan W. Frank.

This order does not become effective until it is filed in the Office of the Clerk of the United States District
Court for the District of Minnesota. The transmittal of this order to said Clerk shall be stayed 7 days from the
entry thereof. If any party files a notice of opposition with the Clerk of the Panel within this 7−day period, the
stay will be continued until further order of the Panel.



                                                            FOR THE PANEL:

                                Feb 14, 2025

                                                            James V. Ingold
                                                            Clerk of the Panel
  CASE 0:24-md-03108-DWF-DJF   Doc. 213      Filed 02/14/25      Page 2 of 2




IN RE: CHANGE HEALTHCARE, INC., CUSTOMER
DATA SECURITY BREACH LITIGATION                                           MDL No. 3108



                   SCHEDULE CTO−8 − TAG−ALONG ACTIONS



  DIST    DIV.      C.A.NO.     CASE CAPTION


MISSOURI EASTERN

  MOE       4      25−00122     Schottel, Jr. v. Change Healthcare LLC
